       Case 4:09-cr-00043-SPF Document 80-9 Filed in USDC ND/OK on 06/15/09 Page 1 of 2




   Criminal
              .   Investigation
                                             DEPARTMENT OF THE TREASURY
                                              INTERNAL REVENUE SERVICE
                                                WASHINGTON, D.C. 20224

                                                                                                   I1/J.
                    CAUTION: ENCLOSURES CONTAIN GRAND JURY INFORMATION -

                                                     June 3, 2005


              The Honorable Eileen J. O'Connor
              Assistant Attorney General
              Department of Justice (Tax Division) -- +" I " . ) " /
              600 E. NW, Room 5013 BICN Bldg. 7 Çt l-ers 6ì- :;1 v'¿Sr J
              Washington, DC 20530 E-Xf.
              Attn: Ronald A. Cimino, Chief Western Enforcement Section

              Re: Title 26 Grand Jury Investigation Expansion
                     Concerning: LINDSEY K. SPRINGER


              Dear Mr. Cimino:

              I am referring the matter shown above to your office concurring with your request to
              expand a grand jury investigation. Based on my review of the information provided by
              Assistant U. S. Attorney Melody Noble Nelson and our examination of the relevant tax
              records, i find there is reason to believe that federal criminal tax violations have been
              committed. Disclosures of tax return and/or tax return information made herein or in the
              accompanying enclosures are authorized by 26 U.S.C. § 61 03(h)(3)(A). I have
              authorized the commitment of Internal Revenue Service resources to assist in the
              investigation of potential Title 26 and Title 26-related violations that Lindsey K. Springer
              may have committed for the years 2000 through 2004.

              The following information is enclosed for your review:

                 1. Form 9131 and Exhibits
                 2. Evaluation memorandum prepared by Criminal Tax attorney.

          If you need Criminal Tax Counsel to assist in the evaluation of evidence developed by
          the grand jury as it relates to Title 26 and Title 26-related offenses, please call me at
          (214) 413-5919 and I will arrange to have a docket attorney assist you.




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Case 4:09-cr-00043-SPF Document 80-9 Filed in USDC ND/OK on 06/15/09 Page 2 of 2
  Originals or copies of an ::mespondence sent to this office S Jld be addressed to me
  with the notation, "Material to be opened by address only." If you have any questions
  regarding this memorandum, please contact Supervisory Special Agent William R.
  Taylor or Special Agent Brian Shern at (918) 581-7050 Ext. 230.


                                           Sincerely,


                                           ~~ iJØ4
                                           Michael D. Lacenski
                                           Special Agent in Charge
                                           Dallas Field Office
                                           1100 Commerce Street, DAL 9000
                                           Dallas, TX 75242


  Enclosures (2)

  Cc: Richard A. McDonald
         Field Counsel (Criminal Tax)
